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                                    UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW JERSEY



                CHAMBERS OF                                                            U.S. COURTHOUSE
           ZAHID N. QURAISHI                                                    402 EAST STATE STREET, ROOM 4000
       UNITED STATES DISTRICT JUDGE                                                     TRENTON, NJ 08608



                                                                       April 3, 2024

                                                  LETTER ORDER

       Re:      Andy Kim, et al. v. Christine Giordano Hanson, et al.
                Civil Action No. 24-1098-ZNQ-TJB______________________________


Dear Counsel:
      Before the Court are two Emergency Motions to Intervene. The first motion was filed by
Republican Candidates Greg Mele, Hector Castillo, Albert Harshaw, and Shirley Maia-Cusick.
(“Republican Candidate Motion”, ECF No. 220, 226. 1) The second motion was filed by the Morris County
Republican Committee (“MCRC”), Laura Ali, the New Jersey Republican Chairs Association
(“NJRCA”), and Jose Arango, (collectively, “Republican Committees”). (“Republican Committees
Motion”, ECF No. 221).

        Both Motions seek to intervene on an emergent basis. Republican Candidates wish to challenge
what they believe is the too-narrow Order issued by the Court on the Motion for Preliminary Injunction.
(Republican Candidate Motion ¶¶ 6–9.) They would prefer that the Court’s injunction apply to the 2024
GOP Primary as well. (Id.) Republican Committees take the opposite position, asking to intervene to
ensure that the Court’s injunction does not apply to the 2024 GOP Primary. (Id.)

        The trouble with both Motions is that they are both too little and too late. They are too late insofar
as the Court set a deadline of March 6, 2024 for would-be litigants to seek to intervene for the purposes
of the Motion for Preliminary Injunction. 2 (See ECF No. 34.) More importantly, the Court has since issued
its decision on the Preliminary Injunction, and it has been appealed to the Third Circuit. The Circuit has
ordered an emergent briefing schedule that concludes at 10:00 a.m. today. (See App. No. 24-1593 at ECF
No. 7.) Thus, if Republican Candidates or Republican Committees wished to join this matter in district
court for the purposes of litigating the motion for preliminary injunction, the time to do so has long since
passed. Their recourse is at the Circuit.

        To the extent that either party seeks to now generally join the main suit on the merits, their Motions
are too little insofar as they lack a proposed pleading. Although the Court set a deadline for the parties to

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     For reasons unclear, Republican Candidates appear to have filed the same motion twice. Once by counsel, Robert
   Kovic. (ECF No. 220.) And a second time by emailing a copy to the Clerk’s Office Help Desk. (ECF No. 226.)
   After the second filing, the Clerk’s Office caught the duplication and terminated the second motion. The Republican
   Candidates’ needlessly duplicative filing was an abuse of Clerk’s Office resources devoted to pro se parties and it has
   added to an already cluttered docket. It is not to be repeated.
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     Movants are not claiming that they were unaware of this case, nor could they reasonably do so. The Court takes
   judicial notice of the fact that this matter has been well-publicized.
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respond to the Motions by today, April 3, 2024, it is apparent that no filing from the parties either in
support or opposition can change the fact that the Federal Rules of Civil Procedure require would-be
intervenors to include a proposed pleading with their application, at least in part so that the existing parties
have notice of their position and can determine whether they wish to object to their joinder. See Fed. R.
Civ. P. 24(c). Plaintiffs, Defendants, the Intervenor CCDC, and the Court have been deprived of that
notice.

       For these reasons, the Court hereby DENIES both Motions to Intervene (ECF Nos. 221, 226)
without prejudice to Movants’ rights to renew their applications at a later time with submissions that fully
comply with Rule 24.

       IT IS SO ORDERED.




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                                                               ZAHID N. QURAISHI
                                                               UNITED STATES DISTRICT JUDGE




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